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                       UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF MICHIGAN

BERKLEY INSURANCE COMPANY,

             Plaintiff,                           Case No. 21-11432
                                                  Hon. Matthew F. Leitman
v.

THE YATOOMA LAW FIRM P.C.,

             Defendant.

 STARR, BUTLER, ALEXOPOULOS & STONER         THE YATOOMA LAW FIRM P.C.
 PLLC                                        Christine L. Constantino, Jr. (P80719)
 Joseph A. Starr (P47253)                    2211 S. Telegraph Rd., Ste. 7325
 Zachary S. Jugan (P80944)                   Bloomfield Twp., MI 48302
 20700 Civic Center Dr., Ste. 290            (248) 639-2000
 Southfield, MI 48076                        cconstantino@theyatoomalawfirm.com
 (248) 554-2700                              Attorneys for Defendant
 jstarr@starrbutler.com
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 HINSAW & CULBERTSON LLP
 Scott Seaman (pro hac vice pending)
 151 N. Franklin St., Ste. 2500
 Chicago, IL 60606
 (312) 704-3000
 sseaman@hinshawlaw.com

 Attorneys for Plaintiff

      STIPULATED ORDER FOR VOLUNTARY RESCISSION AND
     DECLARATION OF THE SUBJECT POLICY AS VOID AB INITIO

      This matter having come before the Court upon the stipulation of the Parties,

through their respective counsel, to voluntarily rescind the Berkley Insurance

Company Lawyers Professional Liability Insurance Policy No. PLP-1905267-P1
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issued to Defendant, The Yatooma Law Firm P.C., effective January 12, 2021 to

January 12, 2022 (ECF No. 1-2, PageID.18-36)(the “Policy”), and to declare the

Policy void ab initio, and the Court being otherwise fully advised in the premises:

      IT IS HEREBY ORDRED that the Policy (ECF No. 1-2, PageID.18-36)

shall be rescinded and declared void ab initio;

      IT IS FURTHER ORDERED that the above entitled cause of action is

dismissed with prejudice and without costs, interest and attorney fees to any party;

      IT IS SO ORDERED.

      This is a final order which resolves all pending claims and closes the case.


                                       /s/Matthew F. Leitman
                                       MATTHEW F. LEITMAN
                                       UNITED STATES DISTRICT JUDGE

Dated: December 2, 2021



The parties hereby Stipulate and Agree:

/s/ Zachary S. Jugan
Joseph A. Starr (P47253)
Zachary S. Jugan (P80944)
Attorneys for Plaintiff

/s/ Christine L. Constantino, Jr. (w/ consent 11/30/21)
Christine L. Constantino, Jr. (P80719)
Attorney for Defendant




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